    Case 3:18-cr-00757-BRM Document 1 Filed 05/08/18 Page 1 of 9 PageID: 1




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                                 CRIMINAL COMPLAINT

       V.
                                                          Hon. Cathy L. Waldor
 STEVEN BRADLEY MELL
 a/k/a BRADLEY MELL                                       Mag. No. 18-7094 (CLW)


       I, Amy Veivia, being duly sworn, state the following is true and correct to the best of my

knowledge and belief:


                                     SEE ATTACHMENT A

       I further state that I am a Special Agent with the Federal Bureau of Investigation, and that

this Complaint is based on the following facts:


                                     SEE ATTACHMENT B

continued on the attached pages and made a part hereof.




                                                      Amy Veivia, pecial Agent
                                                      Federal Bureau of Investigation

Sworn to before me and subscribed in my presence,
May 8, 2018, at Newark, New Jersey



HONORABLE CATHY L.      W ALDOR
UNITED STATES MAGISTRATE JUDGE




                                                  1
    Case 3:18-cr-00757-BRM Document 1 Filed 05/08/18 Page 2 of 9 PageID: 2



                                      ATTACHMENT A

                                        Count One
                               (Online Enticement of a Minor)

      From at least as early as in or around May 2017 through in or around August 2017, in
Somerset County, in the District of New Jersey, and elsewhere, the defendant

                                 STEVEN BRADLEY MELL
                                         a/k/a
                                    BRADLEY MELL

did, using the mail and any facility and means of interstate and foreign commerce, knowingly
persuade, induce, entice, and coerce an individual who had not attained the age of 18 years to
engage in sexual activity for which any person can be charged with a criminal offense, namely
N.J.S.A. 2C:14-2(c)(4), and attempted to do so.

       In violation of Title 18, United States Code, Section 2422(b) and Section 2.

                                        Count Two
                               (Online Enticement of a Minor)

      From at least as early as in or around August 2017 through in or around December 2017,
in Somerset County, in the District of New Jersey, and elsewhere, the defendant

                                  STEVEN BRADLEY MELL
                                          a/k/a
                                     BRADLEY MELL

did, using the mail and any facility and means of interstate and foreign commerce, knowingly
persuade, induce, entice, and coerce an individual who had not attained the age of 18 years to
engage in sexual activity for which any person can be charged with a criminal offense, namely,
the production and attempted production of child pornography.

       In violation of Title 18, United States Code, Section 2422(b).




                                                2
    Case 3:18-cr-00757-BRM Document 1 Filed 05/08/18 Page 3 of 9 PageID: 3



                                         Count Three
                                (Online Enticement of a Minor)

       On or around August 23, 2017, in Somerset County, in the District of New Jersey, and
elsewhere, the defendant

                                  STEVEN BRADLEY MELL
                                          a/k/a
                                     BRADLEY MELL

did, using the mail and any facility and means of interstate and foreign commerce, knowingly
persuade, induce, entice, and coerce an individual who had not attained the age of 18 years to
engage in sexual activity for which any person can be charged with a criminal offense, namely, a
violation ofN.Y. Penal Code Section 130.25 (Rape in the third degree), and attempted to do so.

       In violation of Title 18, United States Code, Section 2422(b) and Section 2.

                                         Count Four
                   (Travel with Intent to Engage in Illicit Sexual Conduct)

       On or around July 20, 2017, in Somerset County, in the District of New Jersey, and
elsewhere, the defendant

                                  STEVEN BRADLEY MELL
                                          a/k/a
                                     BRADLEY MELL

did knowingly and intentionally travel in interstate commerce from in or around Somerset
County to Barnstable, Massachusetts, and back to Somerset County, for the purpose of engaging
in illicit sexual conduct, specifically, a sexual act with a person under the age of eighteen, that
would be a violation of Chapter 109A, specifically, Title 18, United States Code, Section
2243(a), if the sexual act had occurred in the special maritime and territorial jurisdiction of the
United States.

       In violation of Title 18, United States Code, Section 2423(b ).




                                                 3
    Case 3:18-cr-00757-BRM Document 1 Filed 05/08/18 Page 4 of 9 PageID: 4




                                        ATTACHMENT B

          I, Amy Veivia, am a Special Agent with the Federal Bureau of Investigation. I have

personally participated in this investigation and am aware of the facts contained herein, based

upon my own participation in this investigation, as well as information provided to me by other

law enforcement officers. Because this Affidavit is submitted for the limited purpose of

establishing probable cause, I have not included herein the details of every aspect of the

investigation. Statements attributable to individuals contained in this Attachment are related in

substance and in part, except where otherwise indicated.

                 1.     At all times relevant to this Complaint, defendant STEVEN BRADLEY

MELL (hereinafter "MELL") was a 51 year old New Jersey resident, residing in Far Hills, New

Jersey.

                 2.     Beginning in or about May 201 7, MELL began communicating via

telephone, text message and SnapChat with a New Jersey minor who was known to him and who

had not yet attained 16 years of age ("Minor Victim 1").

                 3.     The communications from MELL to Minor Victim 1 soon became sexual

in nature when MELL asked Minor Victim 1 if she knew how to perform oral sex. In or around

June 2017, MELL invited Minor Victim 1 to spend time alone with MELL at his Far Hills

residence.

                 4.     Mell coordinated his in-person meetings with Minor Victim 1 via telephone,

text/electronic message, and/or SnapChat.

                 5.     On or about June 20, 2017, MELL performed sex acts on Minor Victim 1

at his Far Hills residence that were in violation of N.J.S.A. 2C:14-2(c)(4) due to MELL's age of

51 and Minor Victim 1 having not yet attained 16 years of age.

                                                 4
    Case 3:18-cr-00757-BRM Document 1 Filed 05/08/18 Page 5 of 9 PageID: 5



               6.      On or about July 4, 2017, MELL sent Minor Victim 1 the text/electronic

message, "Miss you so much."

               7.      On or about July 5, 2017, MELL performed sex acts on Minor Victim 1 at

his Far Hills residence that were in violation ofN.J.S.A. 2C:14-2(c)(4) due to MELL's age of 51

and Minor Victim 1 having not yet attained 16 years of age.

               8.      On or about July 6, 2017, MELL purchased an emergency contraceptive pill

for Minor Victim 1.

               9.      On or about July 9, 2017, MELL and Minor Victim 1 engaged in the

following text/electronic exchange:

               MV 1:          So I won't see you for so long now.

               MELL:          No I'll see you tomorrow. Worst case is jog when I get home.

               MELL:          I just can't sneak away at night she. She is here.

               10.     On or about July 18, 2017, MELL sent Minor Victim 1 the text/electronic

message, "If you are nervous it will hurt more. When you are relaxed and turned on is when it will

feel ok."

               11.     On or about July 20, 2017, MELL flew Minor Victim 1 from Somerset

Airport to Barnstable, Massachusetts, and back via MELL's private aircraft. On the flight back,

MELL put the aircraft on autopilot mode and engaged in sex acts, within the meaning of Title 18,

United States Code Section 2246(2)(C), with Minor Victim 1 while in flight.

               12.     On or about July 21, 2017, in or around Hunterdon County, New Jersey,

MELL performed sex acts on Minor Victim 1 that were in violation ofN.J.S.A. 2C:14-2(c)(4) due

to MELL's age of 51 and Minor Victim 1 having not yet attained 16 years of age.




                                                 5
    Case 3:18-cr-00757-BRM Document 1 Filed 05/08/18 Page 6 of 9 PageID: 6



               13.     On or about July 27, 2017, MELL sent Minor Victim 1 the text/electronic

message, "You really like watching me cum" and "I love watching you. You owe me cute girl."

               14.     At various times from in or around August 2017 through in or around

December 2017, MELL asked Minor Victim 1 to transmit to MELL via text/electronic message,

SnapChat, and/or FaceTime video chats, images and videos of Minor Victim 1 engaged in sexually

explicit conduct, as that term is defined in Title 18, United States Code Section 2256(2)(B).

               15.     In the summer of 2017, MELL gave Minor Victim 1 a birthday card to

recognize her 16th birthday.

               16.     On or about August 4, 2017, MELL sent Minor Victim 1 the text/electronic

message, "Play with your boobs too."

               17.     On or about August 9, 2017, MELL sent Minor Victim 1 the text/electronic

message, "Funny there is a hotel right about (sic) the theater in Motown. You could do the din

thing and then I could get a room and you(sic) location would show the theatre. Then out you on

a train or even ask [NAME REDACTED] to get you. Hehe." A few minutes later MELL added,

"And if you can get picked up they wouldn't suspect anything."

               18.     On or about August 23, 2017, MELL and Minor Victim 1 engaged in the

following text/electronic message exchange at approximately 10 a.m. from New Jersey:

               MELL:           Now let me get a room and we are all set.

               MELL:           FYI [NAME REDACTED] is staying until tomorrow. I wish we
                               could do a sleepover but [NAME REDACTED] is home so I need
                               fl(sic) cone(sic) home®®®

               MVl:            So where are we staying hehe

               MELL:           Not sure yet. I'll be back.




                                                  6
    Case 3:18-cr-00757-BRM Document 1 Filed 05/08/18 Page 7 of 9 PageID: 7



               19.      On or about August 23, 2017, MELL and Minor Victim 1 traveled

separately from New Jersey to New York City. While in New York City, MELL and Minor Victim

1 engaged in sexual intercourse, as that term is defined in N.Y.P.L. 130.00(1), in violation of

N.Y.P.L. 130.25(2) due to MELL's age of 51 and Minor Victim 1 having not yet attained 17 years

of age.

               20.      On or about August 23, 2017, in New York City, MELL used his cellular

telephone to take an image of Minor Victim 1 standing nude and facing the camera with Minor

Victim 1's genital area clearly visible.

               21.      On or about September 17, 201 7, MELL sent Minor Victim 1 the

text/electronic message, "Brad fuck [MINOR VICTIM 1 NAME] hard and make [MINOR

VICTIM 1 NAME] very happy."

               22.      On or about September 18, 2017, MELL sent Minor Victim 1 the

text/electronic message, "Please get the IUD. I know you are trying."

               23.      On or about September 26, 2017, MELL and Minor Victim 1 engaged in

the following text/electronic message exchange:

               MELL:           Love your ass.

               MELL:           Send me a video fucking your ass from the front of you can.

               MVl:            Like laying down?

               24.      On or about October 11, 2017, MELL sent Minor Victim 1 the following

text/electronic message at approximately 10 a.m.:

                MELL:          Trust me the sex is amazing but so is being around you.

                25.     On or about October 11, 2017, MELL and Minor Victim 1 engaged in the

following text/electronic message exchange at approximately 11 :45 p.m.:



                                                 7
    Case 3:18-cr-00757-BRM Document 1 Filed 05/08/18 Page 8 of 9 PageID: 8



              MELL:          Send me video or pies.

              MV 1:          Did you cum?

               26.    On or about October 19, 2017, MELL sent Minor Victim 1 the following

text/electronic message, "Ft me. I can't speak but can watch."

               27.    On or about November 14, 2017, MELL sent Minor Victim 1 the following

text/electronic message, "Send me a nice naked pie cute thing."




                                                8
   Case 3:18-cr-00757-BRM Document 1 Filed 05/08/18 Page 9 of 9 PageID: 9




                       UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                    Mag. No. 18-7094

            V.                              Hon. Cathy L. Waldor

STEVEN BRADLEY MELL                         SEALING ORDER
a/k/ a BRADLEY MELL



            This matter having been brought before the Court upon application

of Craig Carpenito, the United States Attorney for the District of New Jersey

(Danielle Alfonzo Walsman, Assistant United States Attorney, appearing), for an

order sealing the criminal complaint and arrest warrant issued on this date

against Defendant Stephen Bradley Mell a/k/ a Bradley Mell, and for good

cause shown,

            IT IS on this 8th day of May, 2018,

            ORDERED that, except for such copies of the arrest warrant as are

necessary to accomplish its purpose, the Complaint, arrest warrant and this

Order be and hereby are SEALED until the arrest warrant is executed or until

further order of the Court.   IT IS FURTHER ORDERED that, once the arrest

warrant is executed that the Complaint, arrest warrant, and this Order be and

are hereby unsealed.


                                           HO[~~
                                           United States Magistrate Judge
